 Perry Law                                                                                    E. DANYA PERRY
                                                                                                  917-543-1866 PHONE
                                                                                     dperry@danyaperrylaw.com EMAIL



                                                                        June 12, 2023

VIA ECF

The Honorable Taryn A. Merkl
United States Magistrate Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

Re:    Trooper 1 v. Cuomo, et al., No. 22-cv-00893 (LDH) (TAM)

Dear Judge Merkl:

         We represent non-party Lindsey Boylan. On June 5, 2023, Plaintiff Trooper 1 and
Defendant Andrew Cuomo submitted a joint letter in which Plaintiff asked the Court to, inter alia,
quash three subpoenas that request documents concerning Ms. Boylan. See ECF 78. On June 6,
2023, the Court granted the parties “leave to file a discovery motion on the topics outlined in their
letter if they are unable to resolve these issues without court intervention.” Ms. Boylan hereby
requests permission to be heard regarding this discovery dispute by submitting a motion to quash
the three subpoenas that seek documents over which Ms. Boylan has a clear privacy interest. See,
e.g., Alexander v. New York City Dep't of Educ., 339 F.R.D. 372, 374 (S.D.N.Y. 2021) (finding
former employee had standing to quash subpoena requesting personnel records); Hughes v.
Twenty-First Century Fox, Inc., 327 F.R.D. 55, 57 (S.D.N.Y. 2018) (finding individual had
standing to quash subpoenas seeking documents regarding her sexual history). The subpoenas seek
many of the same or similar types of documents that Mr. Cuomo has requested from Ms. Boylan,
and which are at issue in Mr. Cuomo’s motion to compel, which was transferred today to the
Eastern District of New York after being filed as a miscellaneous action in the Southern District
of New York. See Andrew M. Cuomo v. Lindsey Boylan, No. 23-mc-01587 (LDH) (E.D.N.Y.
2023). Both Trooper 1 and Mr. Cuomo consent to Ms. Boylan being heard. The undersigned
understands that the parties will file a proposed briefing schedule tomorrow.

                                                                 Sincerely,

                                                                 /s/ E. Danya Perry
                                                                 E. Danya Perry




                                                     Perry Law
                               157 East 86th Street, 4th Floor, New York, NY 10028
